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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN


REBECCA REUSCH,

                     Plaintiff,

       v.                                                Case No.       18-cv-6679


LA CAUSA, INC.,                                                         Jury Demanded

                     Defendant.

_______________________________________________________

                                      COMPLAINT

_______________________________________________________

       Plaintiff, Rebecca Reusch (“Plaintiff”), by her legal counsel, FOX & FOX, S.C.,

complains of Defendant, La Causa, Inc. (“Defendant”), as follows:

                            JURISDICTION AND VENUE

       1.   This Court has jurisdiction over these claims pursuant to 28 U.S.C. §§ 1331

and 1343(a)(4), and as Plaintiff is alleging violations of the anti-retaliation provision of

the False Claims Act, 31 U.S.C. §3730(h), and as amended (“FCA”).

       2. Venue is proper in this judicial district under 42 U.S.C. § 2000e-5(f)(3) and

28 U.S.C. § 1391(b) as the Defendant is a not-for-profit corporate resident doing

business in this judicial district, and as the acts complained of occurred in this district.

                                         PARTIES

       3.   Plaintiff is an adult resident of Milwaukee, Wisconsin, who at all relevant

times was employed by Defendant, as its Director of Social Services – Youth Programs,

from or about February 28, 2018, until her abrupt firing on August 3, 2018.
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      4.   At all relevant times, Defendant, upon information and belief, was a not-for-

profit corporation responsible for providing, inter alia, various social, welfare, and

related support services to children, youth and families, with its principal place of

business in Milwaukee, Wisconsin (where Plaintiff was employed), and was a covered

employer for purposes of the FCA.

                                    COUNT I
             (Retaliation In Violation of Section 3730(h) of the FCA)

      1. Plaintiff adopts and incorporates paragraphs 1 - 4 above, as paragraph 1 of

Count I.

      2. Section 3730(h) of the FCA, as amended, provides:

       (h) Relief From Retaliatory Actions:

           (1) In General.

             Any employee who is discharged, demoted, suspended, threatened,
             harassed, or in any other manner discriminated against in the terms and
             conditions of employment because of lawful acts done by the employee,
             contractor, agent or associated others in furtherance of an action under
             this section or other efforts to stop 1 or more violations of this subchapter.

             (2) Relief.

             Such relief shall include reinstatement with the same seniority status
             employee, contractor or agent would have had but for the discrimination,
             2 times the amount of back pay, interest on the back pay, and
             compensation for any special damages sustained as a result of the
             discrimination, including litigation costs and reasonable attorneys’ fees.
             An action under this subsection may be brought in the appropriate district
             court of the United States for the relief provided in this subsection.

      3.   At all relevant times, Plaintiff was harassed, discriminated, retaliated against

and/or then discharged from her employment at Defendant because of her good faith

efforts to uncover, report, complain, and/or rectify various legal and compliance -related



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concerns regarding its government funded Wraparound contract (the “Wraparound

Contract”) - whereby Defendant receives federal (and state) government funds, for

several of its youth programs.

       4. Specifically, and at all relevant times, Plaintiff reported, complained, and

attempted to rectify what she reasonably believes was Defendant’s material, unlawful

conduct, including its fraud and abuse by, inter alia:

       (a) failing to fill the required “full-time clerical position” for each Care

Coordination Program;

       (b) failing to properly and/or fully pay it clerical staff for contractually required

“phone crisis” and related services - thereby resulting in its improper receipt, use

and/or retention of federal funds, but also diminished patient care and vital services, as

Defendant’s Supervisors, Leads, and Care Coordinators were improperly required to

undertake additional “clerical” duties which, in turn, hindered their ability to perform

their regular duties for their existing caseloads; and

       (c) otherwise misusing federal funding, and/or failing to properly provide

material, legally required services under its Wraparound Contract, or other government

contract(s), for which its receives and retains federal funding.

       5.   Plaintiff reported, complained and attempted to rectify these issues – both

orally and in writing - to various executives and officers of Defendant - including its

President and CEO, George Torres (“Torres”), Sylvia Zapata, Chief Financial Officer

(“Zapata”), Antionette Steadman, Compliance and Research Specialist (“Steadman”),

Sylvia Cortez, Director of Social Services–Adult Programs (“Cortez”), and Jakob Eisen,

Programs Administrator–Youth Programs (“Eisen”), but to no avail.




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       6.   In lieu of responsibly addressing or rectifying these concerns, Defendant

unlawfully retaliated against Plaintiff by, inter alia, improperly harassing, berating, and

criticizing her, as well as admonishing her to never raise such concerns again in writing.

       7., Plaintiff’s working conditions became increasingly hostile, offensive and

intolerable, resulting in her constructive discharge and decision on August 1, 2018 to

provide Defendant with a 30-day notice of her intent to resign from her position

effective August 31, 2018.

       8. As a direct result of Plaintiff’s legally protected conduct, as alleged above, she

was unlawfully harassed, discriminated and retaliated against, and then abruptly

discharged from her employment by Torres on August 3, 2018, despite her intention

and willingness to continue working through August 31, 2018.

       9. As of August 3, 2018, however, Defendant had still failed and refused to

properly recruit candidates to fill various required clerical support positions – even

though it continued to accept federal funding for same.           Defendant also failed to

properly document and account for its receipt of said funding, including its failure to

provide Plaintiff with such in her capacity as its Director of Youth Programs.

       10. As a direct and proximate result of Defendant’s misconduct, Plaintiff has

suffered, and will continue to suffer, substantial losses in her compensation and

employment benefits, and has sustained other financial damages and losses.

       11. As a further direct and proximate result of Defendant’s misconduct, Plaintiff

has suffered, and will continue to suffer, inter alia, humiliation, emotional distress,

anxiety, inherent career loss, and incur attorneys' fees and costs of suit.

       12. Defendant’s misconduct as alleged above, was willful, intentional and/or in

reckless disregard for Plaintiff’s federally protected rights.



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                               REQUESTED RELIEF


      WHEREFORE, Plaintiff, Rebecca Reusch, prays that this Court grant the

following relief against Defendant, La Causa, Inc.:

      A.     Award Plaintiff a sum equal to two (2) times the amount of
             her lost back pay/benefits, and interest thereon, from or
             about August 3 2018, in an amount to be proven at trial.

      B.     Reinstatement into her former position with the same
             seniority status, or alternatively an award of lost front pay
             and benefits; all in an amount(s) to be proven at trial.

      C.     Award Plaintiff all special damages to which she is entitled,
             including for emotional pain, humiliation and anxiety in the
             amount of $500,000.00, as well as for her career loss/lost
             earning capacity, all in an amount(s) to be proven at trial.

      D.     Award Plaintiff her lodestar legal fees, costs of suit, expert
             fees, and any additional relief that is just and warranted.

                     PLAINTIFF REQUESTS A JURY TRIAL



                                               Plaintiff – Rebecca Reusch

                                               By: s/Randall B. Gold

                                               One of Her Attorneys


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Dated: October 3, 2018




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